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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   (at Lexington)

  UNITED STATES OF AMERICA,                     )
                                                )         Criminal Action No. 5: 20-057-DCR
         Plaintiff/Respondent                   )                          and
                                                )         Civil Action No. 5: 24-029-DCR-CJS
  V.                                            )
                                                )
  JOHN MICHAEL ESSEX,                           )                   JUDGMENT
                                                )
         Defendant/Movant.                      )

                                    ***   ***       ***    ***

       In accordance with the Memorandum Opinion and Order entered this date, and

pursuant to Rule 58 of the Federal Rules of Civil Procedure, it is hereby

       ORDERED and ADJUDGED as follows:

       1. Defendant/Movant John Michael Essex’s motion to vacate, set aside, or correct his

sentence filed pursuant to 28 U.S.C. § 2255 [Record No. 131] is DENIED and his claims are

DISMISSED, with prejudice.

       2. Defendant/Movant John Michael Essex’s collateral proceeding (Civil Action No. 5:

24-029-DCR-CJS) is DISMISSED and STRICKEN from the docket.

       3. A Certificate of Appealability will not issue.

       4. This is a FINAL and APPEALABLE Judgment and there is no just cause for delay.




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    Dated: December 19, 2024.




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